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                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA


TAYLOR ENERGY COMPANY LLC,       )
                Plaintiff,       )
vs.                              ) CIVIL ACTION NO.: 20-01086 (JDB)
                                 )
UNITED STATES OF AMERICA,        )
ACTING BY AND THROUGH THE        )
UNITED STATES COAST GUARD        )
NATIONAL POLLUTION FUNDS CENTER, )
                  Defendant.     )
                                 )
                                 )

      REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION TO STRIKE
      SELECT TECHNICAL REPORTS FROM THE ADMINISTRATIVE RECORD




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         Plaintiff, Taylor Energy Company LLC (“Taylor Energy”), through its undersigned

counsel, respectfully submits this reply in further support of its Motion to Strike Select Technical

Reports from the administrative record (ECF 25). Defendant, the United States of America, acting

by and through the United States Coast Guard National Pollution Funds Center (“NPFC”),

improperly sought to manipulate the content of the administrative record so as to ensure the

inclusion of its own “New” Technical Reports (defined below), while strategically foreclosing any

opportunity for Taylor Energy to respond to such reports. Such action is in violation of the express

regulatory procedure, the purpose for a reconsideration process, and Taylor Energy’s due process

rights. As such, Taylor Energy is seeking to strike the “New” Technical Reports.

         Despite the NPFC’s efforts to move the target and re-frame the issue, Taylor Energy is not

requesting an opportunity to submit rebuttal evidence. Indeed, neither its Complaint nor this

Motion to Strike ask this Court to remand the case for further administrative proceedings so as to

allow Taylor Energy an opportunity to submit additional evidence. The NPFC’s arguments in its

Opposition therefore “miss the mark” and fail to address the express regulatory language or offer

any legitimate explanation for its manipulative and end-motivated actions (other than its argument

that the NPFC can in its “discretion” essentially do whatever it wants).

         The entire thrust of the NPFC’s Opposition misses the mark with respect to the relief sought

in Taylor Energy’s Complaint and Motion to Strike. Taylor Energy is not seeking an opportunity

to submit rebuttal evidence; rather, the issue is simply whether it was legally permissible for the

NPFC (not Taylor Energy) to submit new evidence at the reconsideration stage. As such, the

NPFC’s construction and argument, and its heavy reliance on Bean Dredging (which addressed




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rebuttal evidence on remand) is completely irrelevant to the Court’s consideration of this Motion.1

And, in its limited discussions of the correct issue raised in this Motion (see ECF 36 at p. 9), the

NPFC cites no authority whatsoever. This reply addresses the NPFC’s efforts to ignore the plain

language of its own regulations and the faulty legal theories employed by the NPFC in support of

its position.2

         Taylor Energy’s Motion to Strike raises various issues implicated by the NPFC’s conscious

manipulation of the administrative record, including the NPFC’s violation of the plain language of

the applicable regulations, the purpose for “reconsideration,” and the clear violation of Taylor

Energy’s due process rights at both the informal administrative and formal judicial review stage.

Each of these arguments carry its own force and must be considered in light of the relief sought by

Taylor Energy and the applicable law - not as the NPFC seeks to move the target.

I.       The NPFC’s Action is in Violation of its Own Regulations and Contrary to Law.

         From the outset, the NPFC frames its argument in an effort to conflate the reconsideration

process, on the one hand, with the original claim denial, on the other hand. And, it seeks to gloss



1 Nor is the holding in Pension Benefit Guarantee relevant to this Motion. Unlike here, where the
NPFC attempts to add new evidence at the reconsideration stage, Pension Benefit Guarantee was
in an entirely different context and that court did not consider a party’s due process rights.
2
  This Court should give no credence to the NPFC’s suggestion that Taylor Energy’s Motion is
premature. See ECF 36 at 2, n. 2. Had the NPFC timely filed its certified index of the administrative
record, the certified index would currently be before the Court; therefore, Taylor Energy should
not be prejudiced by the NPFC’s inadvertent violation of the Court’s local rule. Moreover, the
NPFC has not and cannot deny its intention to include the “New” Technical Reports in the
administrative record. To the contrary, it takes the affirmative position that such reports are
properly part of the administrative record. At bottom, Taylor Energy is simply attempting to
proactively address this issue, which will undoubtedly impact the scope and content of the
dispositive motions to be filed in this case. However, to the extent that this Court believes that
Taylor Energy’s Motion is premature, it can simply postpone its consideration of the Motion until
the filing of the certified index of the administrative record, which has now been ordered by August
31, 2020. See ECF 37.


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over the fact that there is an express process and procedure set forth in the regulations (see ECF

36 at 4-5) - that it is very clearly a two-step process. See 33 C.F.R. § 136.115. Indeed, the process

and procedure governing the NPFC’s adjudication of reimbursement claims by Responsible Parties

is set forth in the regulations and it provides for first an initial claim process and second a process

for reconsideration. The reconsideration process expressly provides Taylor Energy, as claimant,

with an opportunity to submit additional evidence but not the NPFC. See 33 C.F.R. § 136.115.

Disposition of the reconsideration request constitutes “final agency action” under OPA. See

33 C.F.R. § 136.115(d). Moreover, the NPFC’s unsubstantiated conclusory statement that it “has

always interpreted the OPA and its own regulations to allow it to consider additional relevant

information, in addition to that submitted by the claimant . . . during reconsideration” (ECF 36 at

9-10), is legally improper and just plain wrong.

         Here, the Claim Determination failed to address much of the evidence submitted by Taylor

Energy with its Claim. Instead, the NPFC waited until the Reconsideration Denial to address

matters raised in and evidence in support of Taylor Energy’s Claim. In fact, with the exception of

one report (i.e., the third Pettigrew Report), the “New” Technical Reports all addressed Taylor

Energy’s initial Claim. None reviewed, nor commented upon, Taylor Energy’s Reconsideration

Request or the expert rebuttal reports that Taylor Energy submitted with its Reconsideration

Request. By issuing its Claim Determination without reliance on various expert reports already

being compiled in response to the Claim and then only disclosing and relying on these reports in

its Reconsideration Denial (yet largely only addressing matters set forth in the initial Claim), it is

apparent that the NPFC’s action was end-motivated. This Court should not allow the NPFC to

consciously and in bad faith manipulate the content of the administrative record.




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         Other than its unsupported assertion that it has “always interpreted” its regulations to allow

it to consider additional information at the reconsideration stage, and that “[i]t has never read §

136.115(d) as placing any limitation on its ability to consider additional information on

reconsideration,” the NPFC does not provide any legal or factual justification for its contention or

actions. ECF 36 at 9-10. Indeed, the NPFC fails to cite any law supporting its purported entitlement

to offer new evidence after Taylor Energy seeks reconsideration, or to use that as an opportunity

to post-hoc rationalize its initial Claim Determination. Again, the law gives the claimant the right

to submit “additional support” in response to the Claim Determination, not the NPFC. And, the

rules of construction equally applicable to regulations and administrative agencies dictate that such

an omission should be treated as an exclusion. See Boudette v. Barnette, 923 F.2d 754, 757 (9th

Cir. 1991) (“[W]hen a statute designates certain persons, things, or manners of operation, all

omissions should be understood as exclusions.”); Act Now to Stop War & End Racism Coal. v.

District of Columbia, 286 F.R.D. 117, 129 (D.D.C. 2012) (internal quotation omitted). 3

         The express language of the regulations and the whole intent of the “reconsideration”

process is to give Taylor Energy the right to respond to the Claim Determination and offer

additional support in response thereto.4 The NPFC stripped Taylor Energy of that right by

withholding the identity and opinions of its experts. It is the NPFC’s evidence that Taylor Energy

is seeking to strike because the NPFC did not have the right to submit new, additional evidence at




3The NPFC’s citation to the New Life Evangelistic Cntr., Inc. v Sebelius, 753 F. Supp. 2d 103
(D.D.C. 2010) case is not inconsistent with this cannon of construction.
4 This is precisely what Taylor Energy did. On reconsideration, Taylor Energy submitted reports
that addressed the arguments and evidence cited by the NPFC in the Claim Determination.
However, it could not request reconsideration (and the NPFC could not reconsider) or otherwise
address justifications that were not included in the Claim Determination.


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the reconsideration stage and thereby strip Taylor Energy of its constitutional and regulatory right

to respond to the information offered by the NPFC in support of its denial.

         Instead, the NPFC resorts to a “reasonable” interpretation justification urging that “Taylor

Energy’s approach would incentivize claimants with weak claims, to submit as little evidence as

possible with their initial claims. Thereafter, such claimants would submit the remainder of their

evidence on reconsideration, and the NPFC would have to accept this evidence without

considering anything else.” ECF 36 at 10. First, that is not what happened here. Taylor Energy

submitted a very thorough and well-supported Claim, providing extensive evidence in support

thereof.5 Moreover, the NPFC had the opportunity to address such matters, for the first time, in its

Claim Determination, and there is no justification for the NPFC waiting to address such matters in

its Reconsideration Denial.

         Notwithstanding the foregoing, the Court should consider the flip–side of the NPFC’s

example. It would be absurd if the NPFC could simply deny a claim in a summary fashion, without

any details or evidence whatsoever. And then, only if a party seeks reconsideration, it subsequently

comes forward with evidence and multiple expert reports justifying its decision that will be deemed

the “final agency action.” Such a construction would render the entire two-step process

meaningless. Ultimately, the NPFC has the administrative decision making authority only subject

to judicial review based upon the administrative record; therefore, there is unquestionably more

risk, more profound prejudice, and more relevancy to the present situation in Taylor Energy’s

example.




5   And, the NPFC has so acknowledged. See ECF 36 at 4, n. 5.


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         In summary, the express regulatory language and the very purpose of the reconsideration

process is to afford the claimant the opportunity to provide additional information in support of

its claim. The regulation makes no provision for the NPFC to raise new evidence or supplement

its initial determination on reconsideration. 33 C.F.R. § 136.115(d). The NPFC may only review

the original basis of its denial and any new support submitted by the claimant. See id., 923 F.2d at

757; Act Now to Stop War & End Racism Coal., 286 F.R.D. at 129. By intentionally withholding

information regarding the additional experts and their opinions, the NPFC deprived Taylor Energy

of an opportunity to submit additional support for its Claim, the very purpose and intent of the

reconsideration process set forth in 33 C.F.R. § 136.115(d). Further, it acted in violation of the

governing regulations. See 33 C.F.R. § 136.115(d). Consistent with this Court’s ruling in Water

Quality Insurance Syndicate striking new materials, the NPFC cannot simply act in violation of its

own regulations and do whatever it pleases; rather the “New” Technical Reports should be struck

from the administrative record. See Water Quality Insurance Syndicate v. United States, 225

F.Supp 3d 41, 65-67 (D.D.C. 2016) (applying the NPFC’s regulations and granting the claimant’s

motion to strike the materials pertaining to the reconsideration request from the administrative

record); see also Raytheon Co. v. United States, 121 Fed. Cl. 135, 159 (2015).

II.      The NPFC’s Action is in Violation of Taylor Energy’s Due Process Rights.6

         The NPFC fails to offer any explanation for its action. Rather, the argument that the

Government seems to advance is that, because Congress did not mandate that the NPFC engage in

a formal adjudication of a Responsible Party’s claims under OPA, the agency can essentially do

whatever it wants, without regard to a claimant’s constitutional protections. The argument that a


6 This is not a “threshold question” as the NPFC suggests (ECF 36 at 11). Rather it is an
independent issue raised on judicial review.


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statute can displace a party’s constitutional rights is obviously wrong. Even the cases relied upon

by the NPFC do not support such a complete abrogation of all due process protections.

         The NPFC cites Pension Benefit Guarantee Corp. v. LTV Corp., 496 U.S. 633 (1990) for

the proposition that parties to informal agency adjudications “have no right to additional

procedures not provided by federal statute or by regulations.” ECF 36 at 2. But, that case is

inapposite because here, the NPFC’s actions are in direct violation of the NPFC’s own regulations.

Moreover, in Pension Benefit Guarantee,7 the Supreme Court held that a party is not entitled to

more procedural protections in an informal adjudication than those provided in the APA. Indeed,

this was unless the Due Process Clause requires them and the Supreme Court specifically noted

that the appellant had not raised a due process claim. See 496 U.S. at 655-656. Since the appellant

did not raise a due process claim, and since the Supreme Court specifically did not address whether

the alleged procedural deficiencies constituted a violation of the Due Process Clause, Pension

Benefits Guarantee cannot stand for the proposition that the Due Process Clause does not protect

a party in an informal agency adjudication concerning property rights constitutionally protected.

Nor does Pension Benefits Guarantee address what rights the Due Process Clause confers on a

claimant in such a proceeding. It is simply inapplicable to the situation presented here.

         The government also argues that Pension Benefit Guarantee limited the holding in

Bowman Transportation Co. v. Arkansas-Best Freight System, Inc., 419 U.S. 281 (1974). ECF 36

at 7. However, Pension Benefit Guarantee did not refer to, discuss, or characterize as dicta,



7
  In Pension Benefit Guaranty, the Supreme Court reviewed whether the decision of Pension
Benefit Guaranty Corporation to restore certain pension plans under § 4047 of the Employee
Retirement Income Security Act of 1974 (“ERISA”), was arbitrary and capricious or contrary to
law, within the meaning of § 706 of the Administrative Procedure Act (“APA”).



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Bowman Transportation’s recognition that “the Due Process Clause forbids an agency to use

evidence in a way that forecloses an opportunity to offer a contrary presentation.” 8 Notably,

Bowman Transportation cited two previous Supreme Court decisions as precedent for that

proposition, neither of which has been overturned. 419 U.S. at 288, n. 4 (citing Ohio Bell

Telephone Co. v. Public Utilities Comm’n, 301 U.S. 292 (1937); United States v. Abilene & S. R.

Co., 265 U.S. 274 (1924)).9 The NPFC’s conduct at issue here, unless the “new” evidence is

stricken, attempts to do exactly that.

         The NPFC further asserts that a claimant in an informal adjudication “has only the

procedural rights afforded by Congress or by the agency itself.” ECF 36 at 8. That proposition is

true but not relevant. It ignores the reconsideration process expressly set forth in the regulations

and Taylor Energy’s due process rights. New Life Evangelistic Cntr., Inc. v Sebelius, 753 F. Supp.

2d 103 (D.D.C. 2010), did not hold that the Due Process Clause is inapplicable to informal agency

adjudications of claims involving property rights. In fact, the Due Process Clause is not even

mentioned in the New Life Evangelistic Cntr. case. Rather, it involved the denial of an application

by a charity seeking the receipt of surplus government property; it does not support the NPFC’s

position that Taylor Energy was not entitled to due process of law with respect to review and the

subsequent denial of its Claim, which is a recognized property right.

         Moreover, despite the NPFC’s repeated representations that Bean Dredging, LLC v. United

States, 773 F. Supp. 2d 63 (D.D.C. 2011) is “virtually on all fours with this one”, ECF 36 at n. 3,




8 And, the fact that Bowman Transportation recognized additional protections in a formal
proceeding does not mean no constitutional protections exist in an informal adjudication.
9Nor does Bean Dredging or Pension Benefit Guarantee stand for the proposition that Taylor
Energy has no, even minimal, due process rights during an informal administrative process.


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12-13, n. 12, it is not. Bean Dredging is inapplicable because it does not implicate the express

terms of the regulation at issue here regarding the two-step process, and more particularly

reconsideration. Indeed, Bean Dredging addressed whether the claimant was entitled to submit

new evidence on remand, not whether the NPFC was entitled to submit new evidence at the

reconsideration stage. The issue presently before this Court is different.

         Taylor Energy is not seeking to offer new evidence or supplement the administrative

record. Rather, its Motion to Strike is based on the fact that the NPFC cannot submit new evidence

(and particularly that which solely addresses the initial Claim) at the reconsideration stage. Bean

Dredging did not analyze whether the regulation that specifically addresses Taylor Energy’s rights

during the reconsideration process, 33 C.F.R. § 136.115(d), provides the NPFC with the right to

engage in the tactics that it employed by (a) withholding evidence and (b) offering new evidence

relating to the initial Claim (as opposed to the Reconsideration Request) on reconsideration. The

regulations clearly do not confer this right on the NPFC. Rather, the reconsideration process is

expressly set forth in the regulations and only provides that Taylor Energy may submit “additional

support”, not the NPFC. And, again, this is consistent with the purpose of “reconsideration”. In

short, Bean Dredging is inapposite as it concerns a completely different scenario not raised in the

instant Motion.

         At bottom, the law relied upon by the NPFC does not support a complete abrogation of due

process protections in connection with an informal adjudication. Neither a statute or regulations

can displace Taylor Energy’s constitutional due process rights. Additionally, including the “New”

Technical Reports in the administrative record constitutes a further violation of Taylor Energy’s

due process rights. See United States v Abilene & S.R. Co., 265 U.S. 274 (1924); Ambuild Co.,

LLC v United States, 119 Fed. Cl. 10, 24-26 (2014); see also Storms v United States, 2017 U.S.


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Dist. Lexis 95149 (E.D.N.Y. 2017). This Court should strike the “New” Technical Reports from

the administrative record and review the NPFC’s final agency action in their absence. Any other

result would not only be in violation of the law, but it would be grossly unfair and highly

prejudicial to Taylor Energy.

                                          CONCLUSION

         The only issue raised in this Motion to Strike is whether, during the reconsideration stage,

the Government can add and rely upon new evidence for its “final agency action.” This is directly

contrary to the express regulatory process and purpose, and there is no law (and the Government

cites no law) that supports this. For the reasons discussed in its original Memorandum of Points

and Authorities in Support of its Motion to Strike (ECF 25-1) and herein, the NPFC must be held

accountable for its bad faith manipulation of the content of the administrative record, its conscious

failure to comply with its own regulatory procedure, and its violation of Taylor Energy’s due

process rights. The Court should grant Taylor Energy’s Motion and strike the two “New” Pettigrew

Reports and the reports of American Bureau of Shipping Group Consulting, Inc. (ABSG), David

Evans and Associates (DEA), GZA Environmental, Inc. (GZA), and Norwegian Geotechnical

Institute (NGI) from the administrative record.

         DATED this 26th day of August, 2020.

                                               Respectfully submitted,


                                               /s/ Carl D. Rosenblum
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                                 CERTIFICATE OF SERVICE

         I certify that on this 26th day of August, 2020, a true and correct copy of the foregoing

pleading was filed electronically with the Clerk of Court of the District of Columbia by using the

CM/ECF system, which provides notice of filing to all counsel of record by electronic means.

                                              s/ Carl D. Rosenblum
                                              CARL D. ROSENBLUM




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